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REHABILITATION, INC.

Leon Tingle, MS-LPC
Board Certified Vocational Expert

May 28, 2009

Mr. Michael Bruffey
Brown Buchanan

P.O. Box 1377

Biloxi, MS 39533-1377

Re: Gary Brice McBay vs. Harrison County
Case No.: 1:07¢v1205-LG-RHW
DOI: 11/6/05

INITIAL VOCATIONAL EVALUATION
INTRODUCTION:

This consultant was contacted and was requested to conduct a vocational rehabilitation evaluation
concerning Mr. Gary Brice McBay. The purpose of this assessment was to determine Mr. McBay’s
residual transferable skills, current and future employability, and vocational impairment.

We did have the opportunity to meet with Mr. Brice McBay on May 26, 2009 in Biloxi, MS. Mr. McBay
was very pleasant and cooperative throughout the interview and appeared to answer my questions to the
best of his ability, A follow up interview with his mother was held to confirm information concerning his
activities of daily living before his injury and post injury.

A full explanation as to the purposes and scope of the vocational interview was provided to him. It was
explained to Mr. McBay that he was being seen for an evaluation only and that no client, counselor
relationship was being established. He was advised that this vocational rehabilitation specialist would be
submitting a narrative report to the referring attorney and that this report would likely be shared with others
within the context of his court case. He was given the opportunity to ask questions concerning the
explanations provided, The vocational interview proceeded as scheduled.

MEDICAL RECORDS:

The following medical records were reviewed and considered for this evaluation:
Medical records of Gulfport Memorial Hospital.

Medical records of Dr. Ross.

Medical records of Coastal ENT.
Medical records of Dr. Steven Martin, Ph.D.

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SOCIAL BACKGROUND:

Mr. Brice McBay was born in Dallas, Texas on August 5, 1976. He is presently 32 years of age. Mr.
McBay was raised in DeSoto, Texas and presently resides at 812 VZCR 3601 in Edgewood, Texas 75117.
He has lived at the present address since December 2003. Mr. McBay reported that he is five feet, five
inches in height and presently weighs 110 pounds. Mr. McBay is right hand dominant and personally
appeared to be his stated age. He possesses a standard Texas driver’s license and has access to a
dependable automobile. Mr. McBay does not have any restrictions on his license and indicated the only

_.problem_he has with driving is that he is afraid of getting lost_or being involved in a traffic accident. In _

addition, Mr. McBay does not have any past or present legal problems, including past felony convictions,
which could adversely affect his residual employability. According to Mr. McBay’s mother, the original
accusations surrounding his arrest have been dropped. McBay is currently single.

EDUCATIONAL BACKGROUND:

Mr. McBay graduated from DeSoto High School in DeSoto, Texas in 1995. He described himself as an
average student with his favorite subject being math and his least favorite subject being English. Mr.
McBay did receive some vocational training in welding while in high school and did play baseball in the
ninth grade as an extra-curricular activity. It should be noted that Mr. McBay was diagnosed with a
Jearning disability while in elementary school.

- VOCATIONAL/SPECIAL TRAINING:

Mr. McBay did receive training as an insurance adjuster. Mr. McBay took an insurance adjusting course
for approximately two weeks to become a certified state licensed adjuster in the state of Texas. He also has
taken other courses through Farmer’s Insurance, Allstate Insurance, and Pilot Insurance. Mr. McBay is
required to take 30 hours of training every two years to remain licensed.

COLLEGE BACKGROUND:

Mr. McBay has no college training.
MILITARY SERVICE:

Mr. McBay has no military experience.
VOCATIONAL HISTORY:

Mr. McBay began working in 1996 as a masker for Golden Manufacturing in Garland, Texas. According
to Mr. McBay, he was required to tape sheet metal to prevent over spraying of paint on computer boxes.
Mr. McBay held this job for three years until he found another job that paid better wages. From 1999 until
2000, Mr. McBay worked for Al Furniture as a furniture mover/warehouseman. Mr. McBay was required
to move furniture and arrange furniture in a warehouse, as well as deliver furniture to the homes of
customers.

In 2002, Mr. McBay completed his adjuster training and began working for Eberl’s Claim Service in Texas
as a Class “C” adjuster. According to Mr. McBay, he was working with his father as a mold claims
inspector. In 2004, Mr. McBay became employed with Pilot Insurance where he worked as an independent
adjuster with his father. According to Mr. McBay, he was on the MS Gulf Coast working flood claims
after Katrina performing all tasks involved in filing claims for the victims of Katrina. After the incident on
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....information.was.gathered,. his-father-and.sister would.enter.the information.and-completethe-estimates-:.:...~.

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November 6, 2005 and his examination and treatment at Gulfport Memorial Hospital, he advised his
employer that he was in an accident and would not be able to work for approximately two weeks.
According to Mr. McBay, it took him this long for facial cuts and abrasions to heal and the swelling to
disappear on his face, neck and head. .

Since his family had been in this area with him, he suggested that his sister ride with him for safety reasons
and to perform the computer/data entry for the claims. Mr. McBay stated that he was having difficulty
focusing and staying on tasks, but was able to perform simple and repetitive activities such as measuring
rooms, writing down room contents and answering simple questions from home owners. Once the

Mr. McBay reported that they continued to work the claims in the same fashion until January 18, 2006,
when he decided that something was wrong. He was unable to communicate with the home owners,
because he was unable to answer questions and speak as he did before his injury. Mr. McBay said the
family returned to Texas, including his father, where they became full-time caregivers for him. According
to Mr. McBay and his mother, her son has not been able to work except with his farther in “sheltered”
employment. It is my understanding that his mother and father pays all his bills which include the
following: 1) house note with insurance; 2) telephone and cable; 3) utilities; 4) car and truck note with
insurance; 5) cell phone; 6) fuel experience; 7) groceries which equals to approximately $2400.00 per
month.

PHYSICAL ABILITIES/LIMITATIONS AS DESCRIBED BY MR. GARY BRICE MCBAY:

Mr. McBay reported his most disabling condition stems from his post-concussion syndrome and post-
traumatic stress disorder. Mr. McBay indicated that he does not like to leave his home without his family
and does not like to socialize or be in groups. Mr. McBay last saw a Dr. Martin in January 2009 and will
have a follow up appointment in June or July 2009. Mr. McBay is receiving counseling and follow up care
as needed. Mr. McBay does not take any prescription medications or over the counter medications for his
medical conditions because he is fearful of becoming addicted. When asked about non-injury related
medical conditions, Mr. McBay indicated that he has hypoglycemia.

REVIEW OF THE MEDICAL RECORDS:

Gulfport Memorial Hospital

November 7, 2005 and November 8, 2005 — Notes from Gulfport Memorial Hospital ER on these dates
describe facial bruising, black eye, and nasal fracture. A drug toxicology screen from November 8, 2005
was negative. The CT scan performed on November 7, 2005 showed a large left temporoparietal scalp
hematoma, along with mucosal thickening of the ethmoid air cells bilaterally. The CT of his orbitis levels
that was done on November 7, 2005 showed a nasal bone fracture, mucosal thickening of the ethmoid and
frontal sinuses right, greater than left due to apparent trauma and bleeding, as well as chronic nasa] septum
deviation.

Dr. Steven K. Martin, Ph.D.

December 3, 2007 — Dr. Martin performed a neuropsychological evaluation of Mr. McBay. He was
apparently complaining of cognitive symptoms to include short term memory problems, reduced recall of
conversations, difficulty recalling job tasks, and struggles with word finding, concentration, processing
speed issues, as well as multi-tasking problems. Dr. Martin noted that Mr. McBay’s current physical
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symptoms do include chronic low-grade fever, lethargy, decreased energy, as well as bilateral hand
numbness, left worse than right. Mr. McBay noted his behavioral status to Dr. Martin to include being
more irritable frustrated and also reported nightmares.

Dr. Martin performed a battery of tests and related the following diagnosis: Concussion, organic
personality syndrome, post-concussion syndrome, post-traumatic stress disorder, and major depression
single episode moderate. Dr. Martin noted in his report that from a diagnosis standpoint, the results
indicated a frontal lobe dysfunction consistent with residual effects from a concussion sustained in the
reported assault. Dr. Martin indicated that due to the time frame that had elapsed from the injury, he was

of the-opinion.that-Mr.-McBays-symptoms.were. permanent.in.nature...Dr.-Martin-noted.that.Mr..McBay.....

has been unable to work as an independent insurance adjuster due to the negative manner posed by his
cognitive and emotional and behavioral affects from the injury.

CLINICAL INTERVIEW

This counselor met with Mr. McBay’s mother regarding his injuries and subsequent emotional difficulties.
She stated that her son was a different person now. He was always a “fun loving” good natured person
willing to help anyone in need. He became extremely angry and easily agitated with episodes of extreme
depression. He would drink alcohol excessively consuming from eighteen (18) to thirty (30) cans of beer
per day. She found him on the floor of the bedroom on one occasion, where he attempted to hang himself
with a leather belt. She found the belt handing from the ceiling with her son lying on the floor.

Mr. McBay was reluctant to discuss his attempt at suicide with this counselor, but stated that the
depression and hopelessness became too much for him to handle. He was always an overachiever because
of his small stature and learning disability. He always wanted to prove to everybody that he could be
independent and have all the things he never had as a child. He stated that he had almost reached that goal
when he became a certified and licensed adjuster.. He knew that working hard and providing a good
product would always allow him to find work as an adjuster. The depression, anger, and despair came
when he realized the injuries he sustained took all his dreams and livelihood away from him and his family.

Mr. McBay stated that he has been able to work with his father performing routine tasks, but his father
completes the written assignments. He does not like to be around people or in a group of people. Also, he
does not like to be alone in a vehicle, because he becomes disoriented and lost easily. This prevents him
from travelling to far from his home without an attendant or family member. He contines therapy which
will be an ongoing process.

VOCATIONAL ANALYSIS:

An analysis of Mr. McBay’s work as an insurance adjuster has been performed for the purpose of
identifying the physical demands, skill level, worker aptitudes, temperaments, and interest areas
demonstrated. This analysis is based upon my review of the following research documents:

e Dictionary of Occupational Titles, U.S. Department of Labor, 1991 Edition

« Selected Characteristics of Occupations, as defined in the Revised Dictionary of Occupational
Titles, 1993 Edition

* Classification of Jobs, 2000 Edition

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At the time of the injury, Mr. McBay was working as an insurance adjuster for Pilot.
The position of insurance adjuster is a light, skilled job. The following GED levels are utilized:

e Reasoning ~- above average
e Math — average
e Language — above average

The following aptitudes are utilized:

Intelligence — above average
Verbal — above average

Numerical — average

Spatial Perception — average

Form Perception — average

Clerical Perception — above average

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The following vocational temperaments are demonstrated:

e Influencing people
e Making judgments
e Dealing with people

Skills and abilities that can be required include, “Applying logic to identify problems; knowing regulations
and interpreting information applicable to contract writing and claims settlement; computing costs and
working up costs estimates; reading and understanding detail, technical, and legal information, keeping
accurate records, and writing detailed reports, and speaking clearly and convincingly.”

VOCATIONAL TESTING:

Vocational testing was not performed as Mr. McBay was given a battery of tests during his
neuropsychological evaluation performed by Dr. Steven Martin, Neuro-Psychologist .

IMPRESSIONS:

Mr. McBay was severely beaten at the Harrison County Jail on November 6, 2005. Mr. McBay was
employed with Pilot as an independent insurance adjuster and had been working there for approximately
five years at the time of his injuries. A review of the medical records show, that as a result of his injuries,
Mr. McBay has been diagnosed with a frontal lobe dysfunction, as well as a concussion, organic
personality syndrome, post-concussion syndrome, post-traumatic stress disorder, and major depression
single episode moderate.

Mr. McBay is a 32-year-old male, who currently resides in Edgewood, Texas. He possesses a valid Texas
driver’s license. Mr. McBay has a high school diploma and has received training and certification as a
state licensed adjuster. His work history has consisted of unskilled to skilled jobs such as masker, furniture
mover, and adjuster. Dr. Steven Martin noted in his neuropsychological report that Mr. McBay suffered
from difficulty with attention, processing speed, decision making, visual memory and recall, as well as
mood and personality changes, which have not allowed him to return to work as an independent adjuster.
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Based on the evaluation of Mr. McBay’s age, education, past work history, and cognitive, emotional, and
behavioral deficits, it is my opinion that he will not be able to function as an independent adjustor.
However, he will be able to return to work in some repetitive unskilled and semi-skilled jobs.

REHAB PLAN:
Mr. McBay would benefit from vocational rehabilitation services. Some of the services would include

vocational counseling and guidance, job coaching, job interviewing skills training, and job placement
services. These services should be under the guidance and duration of a certified rehabilitation counselor.

ACCESS TO LABOR MARKET:

Pre-accident:

Mr. McBay demonstrated the ability to work in occupations ranging from unskilled to skilled and light to
very heavy in nature, as these terms are defined by the U.S. Department of Labor.

Post-accident:

Based on the combination of cognitive, emotional, and behavioral symptoms, Mr. McBay would have
difficulty returning to positions where he is required to influence people, make judgments, or deal with the
public. These vocational temperaments were demonstrated and were needed in his job as an insurance
adjuster.

Using this information and our review of the National Labor Market Statistics, it appears that Mr. McBay
has suffered a 23 percent loss of access to jobs in the competitive labor market. This is due to his cognitive
limitation stated above.

PLACEABILITY:

Mr. McBay should be able to locate entry-level employment at this time. However, transportation is still
an issue. A labor market survey was conducted in his current geographic area of Edgewood, Texas. The
following jobs are ones that this vocational rehabilitation specialist believes he may be able to perform
with accommodations and job coaching services.

Job Title Wages

Order Puller $9.25 per hour
Forklift Operator $10.00 per hour
Sanitation Utility $9.00 per hour
Packer $8.25 per hour
Maintenance Store Room Operator $9.82 per hour
Assembler $8.00 per hour
Inventory Clerk $8.50 per hour

EARNINGS CAPACITY:

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Mr. McBay’s Social Security earnings records indicate that he has been working full time since 1996. His
earlier jobs were unskilled, labor intensive jobs earning low wages. Since he completed his training in

2002, his wages have increased dramatically. The last four years of his wages are as follows:

2002 Earnings - $71,008
2003 Earnings - $58,994
2004 Earnings - $59,479
2005 Earnings - $120,426

The.average.wage.for.the.four.years.prior.to his. 2005 injury, including the year of his iniury, is $77,476.75

Post-accident:

It is my opinion that Mr. McBay is capable of earning wages between $8.00 and $10.00 per hour in the
types of jobs outlined in this report. The average annual wage for the jobs listed above is $18,678.40.

Based on this information, Mr. McBay has suffered a 76 percent loss of wages.

LABOR FORCE PARTICIPATION:

It is my opinion that Mr. McBay is a good candidate to benefit from vocational rehabilitation services.
Based upon the evaluation of his age, education, past work history, and his cognitive, emotional,
behavioral, and physical symptoms, it is my opinion that he will need assistance to locate and sustain
employment into the future.

It is my opinion that Mr. McBay has suffered a 50 percent total vocational loss.

I reserve the right to supplement the opinions expressed in this report should additional information
become available. Because of the type of injuries he has sustained, a life care plan may need to be
conducted.

Mr. Bruffey, thank you for allowing us the opportunity to work with you on this case. If you have any
questions or need clarifications regarding this report, please feel free to contact me at (228) 762-6656.

Sincerely,

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Leon Tingle, MS-LPC
Board Certified Vocational Expert

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Curriculum Vitae

KATHY JACKSON SMITH, MS, CRC, CLCP

Education:

onals (National)
sionals (Mississippi Chapter)

‘Title: V. Saisie rtiselo Life Car a
Duties: Vocational evaluations of persons aining to on the job injury
and liability, which assist in establishing employabilitvand/or wage earning capacity; Job
placement, including assistance to individuals with resume and application process, Life

care plans including eyaluation of indiyidnals, research and medical cost projections;

* -Researchi ‘regarding labor market, including surveys and on site Job analysis; Expert

testimony.

‘Concentta Mana ged Care (Augus
Ridgeland; Mississippi

Title: Vocational Case Manager
Duties: Vocational evaluations, various job placement activities, labor market surveys,
and case management activities.

Iglesia Bautista (May 1999-July 1999)

Tipitapa, Nicaragua

Title: Volunteer Youth Program Coordinator

Duties: Coordinated and implemented youth violence prevention program.

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RESOURCES

l. Bind Elliott (N europsychologist 1 Richard Fulbright, PhD). Telephone interview.

2. ro Skills). Telephone interview. —

3. oe OF Family Physicians
attp://www.aafp or; 0401/2121 html),

4. Lotdice (Office of Dr. Antonio Roman). Telephone interview.

5. Drug Store.com, The website 1 1s WWW, drugstore.c com.

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of J J efferson County, Texas; Civil Ac i

Odom v. Kemper Neshoba Comectional Facilty-MWCC-

: Evans Vi Outok ope Copper Grow MWEC-
Randall Vi Singing R River Electric Power Association MWCC

Chamblee v. _ Chosiai Bnterptises- MWCC

Cone v. Rebel ‘ nd Systems, Ine. Jackson 2 County Circuit Court
Calise No. eonury 23°

Tew Vv. Siemens Power Transmission; Liberty Insurance Corporation- MWCC

Reynolds vi G, B “Boots” Smnith Trucking J ackson County Circuit Court
Civil . Action No. Cl 2004- 00095.

Dan M. MoDanielv, Blizabeth McDaniel, Madison County Civil Action No. 2007-368-B
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Bozemany. Choctaw Enterptises-MWCC

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Gregory v. Choctaw v Enterprises (Golden Moon Casino) - MWCC

Charles Myers v. Polk Meat Products- MWCC

Mary K. Campbell v. North Mississippi State Hospital-MWCC

Randy Scott v. City of Goodman; Civil Action No.: 2003-147

Randy Scott v. City of Goodman; Daubert Hearing

Karen Smith v. Mississippi State Department of Mental Health- MWCC

Willie Breitling v. T&L Transportation Services, Inc. Wilson County Criminal Court Docket No.
01-0534 (Tennessee)

Ann Culpepper v. State Veterans Affairs Board- MWCC
